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                            UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION



  SURGICAL INSTRUMENT SERVICE                           Case No.: 3:21-cv-03496-VC
  COMPANY, INC.,
                                      Plaintiff/        INTUITIVE SURGICAL INC.’S
                        Counterclaim-Defendant          MOTION TO EXCLUDE TESTIMONY
        vs.                                             OF DR. RUSSELL LAMB

  INTUITIVE SURGICAL, INC.,                             Hearing Date: June 8, 2023
                                                        Hearing Time: 1:00 PM PST
                                     Defendant/         Hearing Place: Courtroom 4
                          Counterclaim-Plaintiff
                                                        Judge: The Honorable Vince Chhabria




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                                NOTICE OF MOTION AND MOTION

         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

         PLEASE TAKE NOTICE that on June 8, 2023, at 1:00 PM, or as soon thereafter as available,

in the courtroom of the Honorable Vince G. Chhabria, located at 450 Golden Gate Avenue, Courtroom

4, 17th Floor, San Francisco, CA 94102, Defendant/Counterclaim-Plaintiff Intuitive Surgical, Inc. will

and hereby does move for an order excluding certain opinions of Dr. Russell Lamb, proffered as an

expert witness for Surgical Instrument Services Company, Inc. (“SIS”).

         This Motion is based on this Notice of Motion and Memorandum of Points and Authorities, the

accompanying Declaration of Ashley Bass and attached exhibits, any reply or other supplemental

briefing and/or evidence submitted, and the oral argument of counsel.
                        MEMORANDUM OF POINTS AND AUTHORITIES
         Defendant Intuitive respectfully submits this motion pursuant to Rule 702 of the Federal Rules

of Evidence and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), to exclude

certain opinions of Dr. Russell Lamb, an economist proffered by SIS to opine on the relevant antitrust

market, whether Intuitive possessed monopoly power in the relevant antitrust market, and whether

Intuitive’s conduct resulted in harm to competition. 1
I.       INTRODUCTION

         Dr. Lamb claims to undertake certain economic analyses in his expert report that are not
reliable. He also opines on certain issues that are outside his area of expertise. These opinions should

be excluded, as described further below.




1
  For the avoidance of doubt, Intuitive reserves the right to raise additional objections to Dr. Lamb’s
testimony at a later date. This brief focuses on issues fit for resolution at this stage of the case.

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II.    FACTUAL BACKGROUND

       Dr. Lamb is an economic consultant. Id. ¶ 1. SIS offers Dr. Lamb to opine on various

economic issues associated with SIS’s antitrust claims. Id. ¶ 7. This motion addresses only certain

specific opinions offered in his reports.




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III.   ARGUMENT

       Expert witness testimony must (1) come from a qualified expert; (2) be helpful to the factfinder;

(3) be based on sufficient facts or data; (4) use reliable principles and methods; and (5) reliably apply

those principles and methods to the facts of the case. Fed. R. Evid. 702. The court’s “gatekeeping”

role requires evaluating both the reliability of the expert’s methods and the connection between their

conclusions and the facts on which those conclusions are based. See Gen. Elec. Co. v. Joiner, 522 U.S.

136, 146 (1997). The party proffering expert testimony has the burden of showing the testimony is

admissible by a preponderance of the evidence. Daubert, 509 U.S. at 592 n.10.




       When an expert offers an opinion on market definition, courts routinely exclude expert opinions

that do not reliably apply the SSNIP test. See, e.g., Ky. Speedway, LLC v. Nat’l Ass’n of Stock Car

Auto Racing, Inc., 588 F.3d 908, 918 (6th Cir. 2009) (expert’s “own version” of SSNIP test not reliable

because “it has not been tested; has not been subjected to peer review and publication; there are no

standards controlling it; and there is no showing that it enjoys general acceptance within the scientific

community”); Teradata Corp. v. SAP SE, 570 F. Supp. 3d 810, 838 (N.D. Cal. 2021) (excluding

economist testimony because the expert’s “quantitative analysis, which he uses to corroborate his

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qualitative analysis, is flawed because contrary to his claims, [the expert] does not apply a ‘hypothetical

monopolist’ test (‘HMT’) as contemplated in the Department of Justice and the Federal Trade

Commission’s (‘FTC’) Horizontal Merger Guidelines”); Allen v. Dairy Mktg. Servs., LLC, 2013 WL

6909953, at *7, 9 (D. Vt. Dec. 31, 2013) (excluding purported SSNIP opinion for failure to perform a

critical loss analysis); cf. Fed. Trade Comm’n v. Penn State Hershey Med. Ctr., 838 F.3d 327, 342,

344–45 (3d Cir. 2016) (reversing district court for misapplying SSNIP test). Here, Dr. Lamb has not

even attempted to undertake the calculations the SSNIP test requires, let alone applied the methodology

in a reliable way.

       In In re Live Concert Antitrust Litigation, the court confronted a similar issue. 863 F. Supp. 2d

966 (C.D. Cal. 2012). There, the proffered expert economist chose to apply the SSNIP test, describing

the test in his report with citations to the Horizontal Merger Guidelines. Id. at 986–87. The court

“assume[d] that the SSNIP methodology may, under appropriate circumstances, provide an acceptable

framework with which to define a relevant product market for purposes of antitrust analysis,” but upon

review of the expert’s report, it was “apparent” that the expert did not reliably apply the methodology

to the facts of the case. Id. at 987. The expert had begun his analysis with his assumed relevant

product market and “looked for corroborating evidence without meaningfully testing this assumption.”

Id. at 988. The court emphasized that it was “focus[ed] . . . exclusively on [the expert’s] methodology,

not his results,” and found that his “failure to analyze, in a meaningful way, the possibility of a

narrower or broader product market renders his purported application of the SSNIP methodology

unreliable under Rule 702(d).” Id. at 988–89.




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light on material factors such as [defendant]’s price relative to its total costs (marginal and fixed) and

whether output was restricted, monopoly power cannot be found as a matter of law”); 2B Phillip E.

Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application ¶¶ 504(b), 516(g) (4th ed. 2014 & Supp. 2021) (“No matter how accurately measured, of

course, a substantial excess of price over marginal cost does not necessarily bring excess returns on

investment. A firm generates excess profit only if price exceeds its average total cost, including its cost

of capital.”) (hereinafter “Areeda”).

       This principle was acknowledged in Kaiser Foundation v. Abbott Laboratories, 2009 WL

3877513 (C.D. Cal. Oct. 8, 2009). In that case, which involved an alleged relevant product market

limited only to the defendant’s drug and its corresponding generic (excluding comparable therapeutic

substitutes), it was suggested that the defendant’s alleged supracompetitive pricing was evidence of

monopoly power. But, finding that “the pricing difference between a brand name drug . . . and its

generic equivalent does not reflect supra-competitive pricing, but the fact that companies that produce

generics do not incur the substantial research and development expenses incurred by companies that

develop and produce brand name drugs,” the court granted summary judgment for failure to show

monopoly power. Id. at *9.

       Consistent with Kaiser, courts routinely reject analyses of market power like Dr. Lamb’s that do

not appropriately consider the full scope of a defendant’s costs. See, e.g., Mylan Pharms. Inc. v.

Warner Chilcott Pub. Ltd. Co., 838 F.3d 421, 434, 435 (3d Cir. 2016) (rejecting expert reports “devoid

of any substantiated quantitative analysis showing that Defendants maintained high price-cost margins

or that Defendants markedly restricted output” and holding that a claim that a defendant set

supracompetitive prices requires “an analysis of the defendant’s costs”); Geneva Pharms. Tech. Corp.

v. Barr Lab’ys Inc., 386 F.3d 485, 500 (2d Cir. 2004) (“[A]bsent from plaintiffs’ [expert report] is any

analysis of [defendant’s] costs. Hence, we do not know whether the allegedly elevated prices led to an

abnormally high price-cost margin.”); Carpenter Tech. Corp. v. Allegheny Techs. Inc., 2011 WL

4528303, at *12 (E.D. Pa. Sept. 30, 2011) (“[plaintiff] has offered no evidence that [defendant] has

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IV.    CONCLUSION

       For the reasons set forth above, the Court should not permit Dr. Lamb to offer the opinions that:




DATED: March 23, 2023                             By: /s/ Kathryn E. Cahoy
                                                      KATHRYN E. CAHOY

                                                  Attorney for Intuitive Surgical, Inc.

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